Case 1:17-cv-11155-NMG Document 106 Filed 06/04/19 Page 1 of 15
Case 1:17-cv-11155-NMG Documenti01 Filed 04/19/19 Page 1 of 15

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

ANTHONY DELAROSA, Individually and on
behalf of all others similarly situated,

Plaintiff,

Vv.
STATE STREET CORPORATION, JOSEPH L.
HOOLEY, EDWARD J. RESCH, and
MICHAEL W. BELL,

Defendants.

 

 

 

Case No: 1:17-cv-11155-NMG

ORDER AND FINAL JUDGMENT
Case 1:17-cv-11155-NMG Document 106 Filed 06/04/19 Page 2 of 15
Case 1:17-cv-11155-NMG Document 101 Filed 04/19/19 Page 2 of 15

This matter came before the Court for a hearing on the 17th day of April 2019, on the
application of the Settling Parties for approval of the Settlement set forth in the amended
Stipulation of Settlement dated October 31, 2018 (the “Settlement Stipulation”).

It appearing in the record that: (a) the Notice substantially in the form approved by the
Court in the Court’s Preliminary Approval Order dated December 12, 2018 (“Preliminary
Approval Order”) was provided to all reasonably identifiable Settlement Class Members and
posted to the website of the Claims Administrator, both in accordance with the Preliminary
Approval Order and the specifications of the Court; and (b) the Summary Notice substantially in
the form approved by the Court in the Preliminary Approval Order was published in accordance
with the Preliminary Approval Order and the specifications of the Court;

The Court having considered all papers filed and proceedings in the Action and otherwise
being fully informed of the matters herein and good cause appearing therefore,

NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED
THAT:

l. All capitalized terms used herein have the same meanings as set forth and defined
in the Settlement Stipulation.

2. The Court has jurisdiction over the subject matter of the Action and over the
Settling Parties.

3. The Court finds, for purposes of this Settlement only, that the prerequisites for a
class action under Rule 23(a) and (b)(3) of the Federal Rules of Civil Procedure have been satisfied
in that: (a) the number of Settlement Class Members is so numerous that joinder of all members
thereof is impracticable; (b) there are questions of law and fact common to the Settlement Class;

(c) Plaintiffs’ claims are typical of the claims of the Settlement Class he seeks to represent; (d)
Case 1:17-cv-11155-NMG Document 106 Filed 06/04/19 Page 3 of 15
Case 1:17-cv-11155-NMG Document101 Filed 04/19/19 Page 3 of 15

Plaintiffs fairly and adequately represents the interests of the Settlement Class; (e) questions of
law and fact common to the members of the Settlement Class predominate over any questions
affecting only individual members of the Settlement Class; and (f) a class action is superior to
other available methods for the fair and efficient adjudication of this Action.

4. The Court hereby finally certifies this action as a class action for purposes of the
Settlement, pursuant to Rule 23(a) and (b)(3) of the Federal Rules of Civil Procedure, on behalf of
the “Settlement Class,” defined as all Persons (excluded from the Class are Defendants and their
immediate families, the officers and directors of the Company at all relevant times, their legal
representatives, heirs, successors or assigns, and any entity in which Defendants have or had a
controlling interest) who purchased or otherwise acquired State Street common stock during the
period from February 27, 2012 through January 18, 2017, both dates inclusive,. Excluded from the
Class (“Excluded Person”) are (a) Defendants; (b) members of the immediate families of the
Defendants; (c) the subsidiaries and affiliates of State Street (provided, however, that no ERISA
plan for the benefit of any employees of State Street shall be excluded); (d) any person who is a
partner, chief executive officer, executive vice president, chief financial officer, principal
accounting officer (or if there is no such accounting officer, the controller), director, members, or
controlling person of State Street; (e) any entity in which any Excluded Person has a controlling
interest; and (f) the legal representatives, heirs, successors, and assigns of any such excluded party;
provided, however, that any Investment Vehicle shall not be excluded from the Settlement Class.
Also excluded from the Settlement Class are Persons who timely and validly request exclusion
from the Settlement Class.

5. Pursuant to Rule 23 of the Federal Rules of Civil Procedure, for purposes of the

Settlement only, Plaintiffs are certified as the class representatives on behalf of the Settlement
Case 1:17-cv-11155-NMG Document 106 Filed 06/04/19 Page 4 of 15
Case 1:17-cv-11155-NMG Document 101 Filed 04/19/19 Page 4 of 15

Class (“Class Representatives”) and Lead Counsel previously selected by Plaintiffs and appointed
by the Court is hereby appointed as Class Counsel for the Settlement Class (“Class Counsel”).

6. In accordance with the Court’s Preliminary Approval Order, the Court hereby finds
that the forms and methods of notifying the Settlement Class of the Settlement and its terms and
conditions: (a) met the requirements of due process, Rule 23 of the Federal Rules of Civil
Procedure, and Section 21 D(a)(7) of the Exchange Act, 15 U.S.C. § 78u-4(a)(7), as amended by
the Private Securities Litigation Reform Act of 1995 and all other applicable laws; (b) constituted
the best notice practicable under the circumstances; (c) were reasonably calculated under the
circumstances to describe the terms and effect of the Settlement and to apprise Settlement Class
Members of their right to object to the proposed Settlement, to appear at the Settlement Hearing,
to exclude themselves from the Settlement Class, as well as the binding effect of the orders and
judgments in this Action; and (d) constituted due and sufficient notice to all those entitled thereto.
No Settlement Class Member shall be relieved from the terms and conditions of the Settlement,
including the releases provided pursuant thereto, based upon the contention or proof that such
Settlement Class Member failed to receive actual or adequate notice. A full opportunity has been
offered to the Settlement Class Members to object to the proposed Settlement and to participate in
the hearing thereon. The Court further finds that the notice provisions of the Class Action Fairness
Act, 28 U.S.C. § 1715, were fully discharged.

7. The Settlement is approved as fair, reasonable and adequate under Rule 23 of the
Federal Rules of Civil Procedure, and in the best interests of the Settlement Class. This Court
further finds that the Settlement set forth in the Settlement Stipulation is the result of good faith,
arm’s-length negotiations between experienced counsel representing the interests of the Class

Representatives, Settlement Class Members and Defendants. The Parties are directed to
Case 1:17-cv-11155-NMG Document 106 Filed 06/04/19 Page 5 of 15
Case 1:17-cv-11155-NMG Document 101 Filed 04/19/19 Page 5 of 15

consummate the Settlement in accordance with the terms and provisions of the Settlement
Stipulation.

8. The Action and all of the Released Claims are dismissed with prejudice as against
each and all of the Defendants. The Parties are to bear their own costs, except as otherwise
provided in the Settlement Stipulation.

9. In accordance with Paragraph 1.35 of the Settlement Stipulation, for purposes of
this Final Judgment, the term “Releasing Parties” shall mean: Plaintiffs, each and every Settlement
Class Member and each of their respective parent entities, associates, affiliates, subsidiaries,
predecessors, successors, assigns, attorneys, immediate family members, heirs, representatives,
administrators, executors, devisees, legatees, and estates.

10. In accordance with Paragraph 1.33 of the Settlement Stipulation, for purposes of
this Final Judgment, the term “Released Parties” shall mean (a) any and all of the Defendants and
State Street Bank and Trust Company and any person, partnership, firm, corporation, limited
liability company, trust, or other entity or organization in which any Defendant has a controlling
interest or which is or was related to or affiliated with any of the Defendants; (b) with respect to
each of the Persons in subsection (a), their respective past, present and future directors, officers,
employees, managers, servants, insurers, co-insurers, reinsurers, attorneys, agents, partners,
limited partners, principals, members, trustees, advisors, investment advisors, auditors,
accountants, trustees, underwriters, investment bankers, consultants, subsidiaries, parents, any
other entity in which any such parent has a controlling interest or which is or was related to or
affiliated with any such parent, successors, predecessors, heirs, immediate family members, and
anyone acting or purporting to act for or on behalf of any of them or their successors; and (c) the

legal representatives, predecessors, heirs, successors and assigns of any of the foregoing.
Case 1:17-cv-11155-NMG Document 106 Filed 06/04/19 Page 6 of 15
Case 1:17-cv-11155-NMG Document 101 Filed 04/19/19 Page 6 of 15

11. In accordance with Paragraph 1.32 of the Settlement Stipulation, for purposes of
this Final Judgment, the term “Released Claims” shall mean, to the fullest extent permitted by law
or equity, claims, demands, losses, costs, interest, penalties, fees, attorneys’ fees, expenses, rights,
rights of recovery, causes of action, duties, obligations, judgments, actions, debts, sums of money,
suits, contracts, agreements, promises, damages, and liabilities of every nature and description,
including Unknown Claims, whether known or unknown, direct or indirect, representative, class,
individual, asserted or unasserted, matured or unmatured, accrued or unaccrued, foreseen or
unforeseen, disclosed or undisclosed, contingent or fixed or vested, at law or equity, whether
arising under federal, state, local, foreign, statutory, common, administrative, or any other law,
statute, rule, or regulation that the Releasing Parties: (a) asserted in the Action; (b) could have
asserted or could in the future assert in this Action or any other action or in any forum, that arise
from or out of, relate to, or are in connection with the claims, allegations, transactions, alleged or
actual prohibited transactions or breaches of duty (including fiduciary duty), facts, events,
acts, disclosures, matters or occurrences, errors, statements, representations, actions, failures to act
or omissions involved, alleged, described, set forth, or referred to in the complaints filed in the
Action or that arise from or out of, relate to, directly or indirectly, or are in connection with the
holding, purchase, acquisition, or sale of State Street common stock during the Settlement Class
Period (including, without limitation, claims for fraud and negligent misrepresentation); or (c) that
arise out of, relate to, or are based on the settlement or resolution of the Action, provided, however,
that Released Claims do not include claims to enforce this Stipulation. Released Claims also do
not include any derivative claims that are or may be asserted by Anne Cutler in Cutler v. Burnes,
Superior Court Department of the Trial Court of Massachusetts Civil Action No. SUCV2017-

2359-BLS1.
Case 1:17-cv-11155-NMG Document 106 Filed 06/04/19 Page 7 of 15
Case 1:17-cv-11155-NMG Document101 Filed 04/19/19 Page 7 of 15

12. ‘In accordance with Paragraph 1.34 of the Settlement Stipulation, for purposes of
this Final Judgment, the term “Released Parties’ Claims” shall mean: all claims, demands, rights,
remedies, liabilities, and causes of action of every nature and description whatsoever, whether
based on federal, state, local, statutory, or common law, or any other law, rule, or regulation,
including both known and Unknown Claims, that arise out of or relate in any way to the institution,
prosecution, or Settlement of this Action, including but not limited to all claims for malicious
prosecution or sanctions. “Released Parties’ Claims” do not include claims to enforce any of the
terms of this Stipulation or the Judgment or Alternate Judgment, if applicable.

13. _In accordance with Paragraph 1.46 of the Settlement Stipulation, for purposes of
this Final Judgment, the term “Unknown Claims” shall mean: any Claims of every nature and
description which Plaintiffs, any Settlement Class Member, or any Released Party does not know
or suspect to exist in his, her, or its favor at the time of Effective Date which, if known by him,
her, or it, might have affected his, her, or its settlement with and release of the Released Parties,
Plaintiffs, or the Settlement Class, or might have affected his, her, or its decision with respect to
the Settlement, or such party’s decision not to opt-out or object to this Settlement. With respect to
any and all Released Claims or Released Parties’ Claims, the Parties stipulate and agree that, upon
the Effective Date, Plaintiffs and Defendants shall expressly waive, and each of the Settlement
Class Members and Released Parties shall be deemed to have waived, and by operation of the
Judgment or Alternate Judgment, if applicable, shall have waived, the provisions, rights and
benefits of California Civil Code § 1542, which provides:

A general release does not extend to claims which the creditor does not know or

suspect to exist in his or her favor at the time of executing the release, which if

known by him or her must have materially affected his or her settlement with the
debtor.
Case 1:17-cv-11155-NMG Document 106 Filed 06/04/19 Page 8 of 15
Case 1:17-cv-11155-NMG Document 101 Filed 04/19/19 Page 8 of 15

Plaintiffs, the Released Parties, and/or one or more Settlement Class Members may hereafter
discover facts in addition to or different from those which he, she, or it now knows or believes to
be true with respect to the subject matter of the Released Claims or Released Parties’ Claims, but
the Defendants and Plaintiffs shall expressly, fully, finally, and forever settle and release, and each
Settlement Class Member and Released Party, upon the Effective Date, shall be deemed to have,
and by operation of the Judgment or Alternate Judgment, if applicable, shall have, fully, finally,
and forever settled and released, any and all Released Claims or Released Parties’ Claims, known
or unknown, suspected or unsuspected, contingent or non-contingent, whether or not concealed or
hidden, which now exist, or heretofore have existed, upon any theory of law or equity now existing
or coming into existence in the future, including, but not limited to, conduct which is negligent,
intentional, with or without malice, or a breach of fiduciary duty, law, or rule, without regard to
the subsequent discovery or existence of such different or additional facts. Plaintiffs and
Defendants acknowledge, and the Settlement Class Members and Released Parties shall be deemed
by operation of the Judgment or Alternate Judgment, if applicable, to have acknowledged, that the
foregoing waiver was separately bargained for and a key element of the Settlement.

14. The Releasing Parties, on behalf of themselves, their past, present, and future heirs,
executors, administrators, trustees, predecessors, successors and assigns, and any other Person
claiming (now or in the future) to be acting on behalf of any of them, regardless of whether any
such Releasing Party ever seeks or obtains by any means, including without limitation by
submitting a Proof of Claim, any disbursement from the Settlement Fund, (a) shall have and be
deemed to have, and by operation of the Judgment, or Alternate Judgement, shall have, irrevocably
and unconditionally, fully, finally, and forever released, waived, relinquished, discharged, and

dismissed, with prejudice, all Released Claims against the Released Parties; (b) shall have and be
Case 1:17-cv-11155-NMG Document 106 Filed 06/04/19 Page 9 of 15
Case 1:17-cv-11155-NMG Document 101 Filed 04/19/19 Page 9 of 15

deemed to have covenanted not to sue, directly or indirectly any Released Party with respect to
any and all of the Released Claims; and (c) shall be forever and permanently barred and enjoined
from directly or indirectly filing, commencing, instituting, continuing, asserting, intervening in, or
prosecuting, or assisting any Person in instituting, continuing, asserting or prosecuting in any
forum, any Released Claim, in any capacity, against any of the Released Parties. This release does
not include any derivative claims that are or may be asserted by Anne Cutler in Cutler v. Burnes,
Superior Court Department of the Trial Court of Massachusetts Civil Action No. SUCV2017-
2359-BLS1. Nothing contained herein shall, however, bar the Releasing Parties from bringing
any action or claim to enforce the terms of the Settlement Stipulation or this Final Judgment.

15. Defendants, on behalf of themselves, their heirs, executors, predecessors,
successors and assigns, shall be deemed to have, and by operation of this Final Judgment shall
have, fully, finally, and forever released, relinquished, and discharged the Class Representatives
Settlement Class Members and Class Counsel from all Released Parties’ Claims, and shall be
permanently enjoined from prosecuting the Released Parties’ Claims against Class
Representatives, Settlement Class Members and Class Counsel. Nothing contained herein shall,
however, bar the Defendants or any Released Party from bringing any action or claim to enforce
the terms of the Settlement Stipulation or this Final Judgment.

16. All Persons whose names appear on Exhibit 1 hereto are hereby excluded from the
Settlement Class, are not bound by this Final Judgment, and may not make any claim with respect
to or receive any benefit from the Settlement. Such excluded Persons may not pursue any Released
Claims on behalf of those who are bound by this Final Judgment.

17. To the fullest extent permitted by law, all Persons shall be permanently enjoined,

barred and restrained from bringing, commencing, prosecuting or asserting any claims, actions, or
Case 1:17-cv-11155-NMG Document 106 Filed 06/04/19 Page 10 of 15
Case 1:17-cv-11155-NMG Document 101 Filed 04/19/19 Page 10 of 15

causes of action for contribution, indemnity or otherwise against any of the Released Parties
seeking as damages or otherwise the recovery of all or any part of any liability, judgment or
settlement which they pay or are obligated to pay or agree to pay to the Settlement Class or any
Settlement Class Member arising out of, relating to or concerning such Person’s participation in
any acts, facts, statements or omissions that were or could have been alleged in the Action, whether
arising under state, federal or foreign law as claims, cross-claims, counterclaims, third-party claims
or otherwise, in the Court or any other federal, state, or foreign court, or in any arbitration
proceeding, administrative agency proceeding, tribunal, or any other proceeding or forum. Further,
nothing in the Settlement Stipulation or this Final Judgment shall apply to bar or otherwise affect
any claim for insurance coverage by any Defendant.

18. The Court finds that all Settling Parties and their counsel have complied with all
requirements of Rule I1 of the Federal Rules of Civil Procedure and the Private Securities
Litigation Reform Act of 1995 as to all proceedings herein.

19. This Final Judgment, the Settlement Stipulation, any of their respective terms and
provisions, and any negotiations, proceedings or agreements relating to the Settlement Stipulation,
as well as all matters arising in connection with such negotiations, proceedings or agreements, and
all acts performed or documents executed pursuant to or in furtherance of the Settlement
Stipulation:

(a) shall not be offered or received against any of the Defendants as evidence
of a presumption, concession, or admission of any kind;
(b) shall not be offered or received against any of the Defendants as evidence

of an admission by any of those Defendants with respect to the truth of any fact alleged in the
Case 1:17-cv-11155-NMG Document 106 Filed 06/04/19 Page 11 of 15
Case 1:17-cv-11155-NMG Document 101 Filed 04/19/19 Page 11 of 15

Complaint or the validity of any Released Claim, or the deficiency of any defense that has been or
could have been asserted, or of any liability, negligence, fault, or wrongdoing of the Defendants;

(c) shall not be offered or received against the Defendants as evidence of any
fault, misrepresentation, omission or other actionable conduct with respect to any statement or
written document approved or made by any of the Defendants;

(d) shall not be offered or received against the Defendants as evidence of any
liability, negligence, fault or wrongdoing, or in any way referred to for any other reason as against
any of the Defendants, in any other civil, criminal or administrative action or proceeding, other
than such proceedings as may be necessary to effectuate the provisions of the Settlement
Stipulation; provided, however, that if the Settlement Stipulation is approved by the Court, the
Released Persons may refer to it to effectuate the release of Released Claims and other liability
protections granted them hereunder;

(e) shall not be construed against any of the Defendants as an admission or
concession that the consideration to be given hereunder represents the amount that could be or
would have been recovered after trial;

(f) shall not be construed as or received in evidence as an admission,
concession or presumption against Class Representatives or any of the Settlement Class Members
that any of their claims are without merit, or that any defenses asserted by the Defendants have
any merit, or that damages recoverable in the Action would not have exceeded the Settlement
Amount; and

(g) shall not, in the event of a Termination, be used by any Party for any purpose

in any trial in this Action.

10
Case 1:17-cv-11155-NMG Document 106 Filed 06/04/19 Page 12 of 15
Case 1:17-cv-11155-NMG Document i101 Filed 04/19/19 Page 12 of 15

20. The Released Parties may file or introduce the Settlement Stipulation and/or this
Final Judgment in any action or proceeding that may be brought against them in order to support
a defense or counterclaim based on principles of res judicata, collateral estoppel, full faith and
credit, release, good faith settlement, judgment bar or reduction or any other theory of claim
preclusion or issue preclusion or similar defense or counterclaim, or to otherwise enforce the terms
of the Stipulation or this Final Judgment.

21. | Except as otherwise provided herein or in the Settlement Stipulation, all funds held
by the Escrow Agent shall be deemed to be in custodia legis and shall remain subject to the
jurisdiction of the Court until such time as the funds are distributed or returned pursuant to the
Settlement Stipulation and/or further order of the Court.

22. Without affecting the finality of this Final Judgment in any way, this Court hereby
retains exclusive jurisdiction over (a) implementation of the Settlement and any award or
distribution from the Settlement Fund, including to the Claims Administrator; (b) disposition of
the Net Settlement Fund; (c) hearing and determining applications for attorneys’ fees and expenses
and any Award to Plaintiffs; and (d) all Settling Parties for the purpose of construing, enforcing
and administering the Settlement.

23. Without further order of the Court, the Defendants and Class Representatives may
agree in writing to such amendments, modifications, and expansions of the Settlement Stipulation,
and reasonable extensions of time to carry out any of the provisions of the Settlement Stipulation,
provided that such amendments, modifications, expansions and extensions do not materially limit
the rights of Settlement Class Members or the Released Parties under the Settlement Stipulation.

24. ‘The finality of this Final Judgment approving the Settlement shall not be affected,

in any manner, by rulings that the Court has made, or may in the future make, on the Plan of

11
Case 1:17-cv-11155-NMG Document 106 Filed 06/04/19 Page 13 of 15
Case 1:17-cv-11155-NMG Document 101 Filed 04/19/19 Page 13 of 15

Allocation, Class Counsel’s application for an award of attorneys’ fees and expenses, or any award
to Plaintiffs, or any appeal or modification of any orders relating to the foregoing. Such matters
shall be considered separate from final approval of the Settlement.

25; The Court hereby finds that the proposed Plan of Allocation is a fair and reasonable
method to allocate the Net Settlement Fund among Settlement Class Members, and Class Counsel
and the Claims Administrator are directed to administer the Plan of Allocation in accordance with
its terms and the terms of the Settlement Stipulation.

26. Inthe event the Settlement does not become effective in accordance with the terms
of the Settlement Stipulation, then the Settlement Stipulation and this Final Judgment shall be null
and void to the extent provided by and in accordance with the Settlement Stipulation, and shall be
vacated, and in such event, the provisions of Paragraph 10.6 of the Settlement Stipulation shall
apply.

27. There is no just reason for delay in the entry of this Order and Final Judgment and
immediate entry by the Clerk of the Court is expressly directed pursuant to Rule 54(b) of the
Federal Rules of Civil Procedure.

Dated: Jen? yy , 2019 V McA brite,

HON. NATHANIEL M7 GORTON
UNITED STATES DISTRICT JUDGE
Case 1:17-cv-11155-NMG Document 106 Filed 06/04/19 Page 14 of 15
Case 1:17-cv-11155-NMG Document101 Filed 04/19/19 Page 14 of 15

EXHIBIT 1

Excluded Settlement Class Members

Mark 8. Fulton

Jason Rosenthal

Jules v. Nix

John David Lam

Clara Lai Lam

Pierre Germain

William Clayton Latimer
George Allen

James H. Qualls, Jr.

13
Case 1:17-cv-11155-NMG Document 106 Filed 06/04/19 Page 15 of 15
Case 1:17-cv-11155-NMG Document 101 Filed 04/19/19 Page 15 of 15

CERTIFICATE OF SERVICE
I hereby certify that this document filed through the ECF system will be sent electronically
to the registered participants as identified on the Notice of Electronic Filing (NEF) and paper

copies will be sent to those indicated as non-registered participants on April 19, 2019.

Dated: April 19, 2019 /s/ Jonathan Stern

14
